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       Of Attorneys for Defendants
       Port of Portland, Thomas T. Ko,
       Jeremy Hepp, Jacob Cassity, and
       Jerry Saldivar
                            UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                     PORTLAND DIVISION

 HOWARD GROBSTEIN, as Chapter 7                          Case No. 3:18-cv-01916-HZ
 Bankruptcy Trusttee for, BLANCA
 AGUIRRE,
                       Plaintiff,
        v.                                                DEFENDANT PORT OF PORTLAND,
                                                             THOMAS T. KO, JEREMY HEPP,
 PORT OF PORTLAND, a Municipal                                 JACOB CASSITY AND JERRY
 Corporation, THOMAS T. KO, an individual,                SALDIVAR’S UNOPPOSED MOTION
 JEREMY HEPP, an individual, JACOB                           TO EXTEND PRETRIAL FILING
 CASSITY, an individual, JERRY                                               DEADLINES
 SALDIVAR, an individual, POLLIN
 HOTELS II, LLC, an Oregon limited liability
 company, doing business as SHERATON
 PORTLAND AIRPORT HOTEL,
 STARWOOD HOTELS & RESORTS
 WORLDWIDE, LLC, a foreign limited
 liability company and CANTERBURY
 HOTEL GROUP, an Oregon company, doing
 business as FOUR POINTS BY SHERATON
 PORTLAND EAST,
                       Defendants.


                                    CERTIFICATE OF CONFERRAL

       Pursuant to Local Rule 7-1, I hereby certify that I have conferred with opposing counsel

and counsel for co-defendants regarding this request for an extension and they consent.


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                                             MOTION

       Pursuant to Fed R Civ P 6(b), defendants Port of Portland, Thomas T. Ko, Jeremy Hepp,

Jacob Cassity, and Jerry Saldivar (herein the “Port defendants”) respectfully move the Court for

its order extending the current pretrial filing deadlines [Docket #64] as follows:

       First Wave of Documents: March 14, 2022 extended to March 21, 2022;

       Second Wave of Documents: March 21, 2022 extended to March 25, 2022;

       Third Wave of Documents: March 28, 2022 extended to March 31, 2022;

       Fourth Wave of Documents: remains the same – April 8, 2022.

       The reason for this request is that the parties are currently engaged in further settlement

negotiations.



       DATED: March 7, 2022.



                                                VICKERS PLASS LLC


                                                      s/ Beth F. Plass
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